      Case 3:22-cv-00177-DHB-BKE Document 1 Filed 12/05/22 Page 1 of 17




                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF GEORGIA
                                   DUBLIN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
                     Plaintiff,                 )
                                                )
       v.                                       )   Civil Case No. ____________
                                                )
APPROXIMATELY SEVENTY-FOUR                      )
PIT BULL-TYPE DOGS SEIZED                       )
FROM 138 TUCKER SCHOOL ROAD,                    )
WRIGHTSVILLE, GEORGIA &                         )
236 JAMES GROVE CHURCH ROAD,                    )
WRIGHTSVILLE, GEORGIA,                          )
                                                )
                        Defendant Dogs.         )

                  VERIFIED COMPLAINT FOR FORFEITURE IN REM

       COMES NOW the United States of America, by and through David H. Estes, United States

Attorney for the Southern District of Georgia, and the undersigned Assistant United States

Attorney, and brings this Verified Complaint for Civil Forfeiture in Rem, with the following

allegations:

               NATURE OF THE ACTION AND BASIS FOR FORFEITURE

       1.      This is a civil action in rem for the forfeiture of seventy-four pit bull-type dogs

(hereinafter, “Defendant Dogs”) that were involved in a violation of the animal fighting venture

prohibition section of the Animal Welfare Act, 7 U.S.C. § 2156.

                                  THE DEFENDANTS IN REM

       2.      The defendants in rem are approximately forty-seven (47) pit bull-type dogs seized

on or about May 5, 2022 from 138 Tucker School Road, Wrightsville, Georgia (“Tucker School

Defendant Dogs”), and twenty-seven (27) pit bull-type dogs from 236 James Grove Church Road,
       Case 3:22-cv-00177-DHB-BKE Document 1 Filed 12/05/22 Page 2 of 17




Wrightsville, Georgia (“James Grove Church Defendant Dogs”) pursuant to a federal warrant to

seize property subject to forfeiture.

       3.        The Tucker School Defendant Dogs are pit bull-type dogs described as follows:

            a.      USM‐001: a tan adult male,

            b.      USM‐002: a blond adult male,

            c.      USM‐003: a red and white adult female,

            d.      USM‐004: a blond adult male,

            e.      USM‐005: a blond adult male,

            f.      USM‐006: a red adult male,

            g.      USM‐007: a red and white adult female,

            h.      USM‐008: a red and white adult male,

            i.      USM‐009: an emaciated black adult female,

            j.      USM‐009A: a black and white female puppy,

            k.      USM‐009B: a red and black male puppy,

            l.      USM‐009C: a black and chocolate female puppy,

            m.      USM‐009D: a black male puppy,

            n.      USM‐009E: a red and black male puppy,

            o.      USM‐009F: a black and white female puppy,

            p.      USM‐009G: a fawn colored male puppy,

            q.      USM-009H: a black and white female puppy,

            r.      USM-009I: a black and white female puppy,

            s.      USM-010: a red brindled adult male,

            t.      USM-011: a strawberry blonde adult female,




                                                 -2-
Case 3:22-cv-00177-DHB-BKE Document 1 Filed 12/05/22 Page 3 of 17




   u.    USM-012: a strawberry blonde adult female,

   v.    USM-013: a blonde adult female,

   w.    USM-014: a blonde adult female,

   x.    USM-015: a chocolate brindled adult female,

   y.    USM-016: a red and white adult female,

   z.    USM-017: a blonde adult female,

   aa.   USM-018: a red and white adult female,

   bb.   USM-019: a chocolate and white adult male,

   cc.   USM-020: a blond and white adult female,

   dd.   USM-021: an underweight red adult female,

   ee.   USM-022: a blonde adult female,

   ff.   USM-023: a tan adult male,

   gg.   USM-024: a black and white male puppy,

   hh.   USM-025: a black adult male,

   ii.   USM-026: a red and white adult male,

   jj.   USM-027: a red and brown adult male,

   kk.   USM-028: a red adult female,

   ll.   USM-029: a black and white female puppy,

   mm.   USM-030: a red and white adult female,

   nn.   USM-031: a red and white adult male,

   oo.   USM-032: a thin blond adult female,

   pp.   USM-033: a tan and white male puppy,

   qq.   USM-034: a tan and white female puppy,




                                      -3-
      Case 3:22-cv-00177-DHB-BKE Document 1 Filed 12/05/22 Page 4 of 17




            rr.      USM-035: a red and white adult male,

            ss.      USM-036: a red female puppy,

            tt.      USM-037: a tan and white female puppy, and

            uu.      USM-038: a black female puppy.

       4.         The James Grove Church Defendant Dogs are pit-bull type dogs described as

follows:

            a.       USM-001: a dark red adult female,

            b.       USM-002: a dark red adult male,

            c.       USM-003: a blonde adult male,

            d.       USM-004: a tan adult male,

            e.       USM-005: a brindle adult female,

            f.       USM-006: a blonde brindle adult female,

            g.       USM-007: a red adult male,

            h.       USM-008: a blonde adult female,

            i.       USM-009: a red and white adult female,

            j.       USM-010: a blonde adult male,

            k.       USM-011: a blonde adult male,

            l.       USM-012: a blonde adult female,

            m.       USM-013: a red adult female,

            n.       USM-014: a chocolate adult male,

            o.       USM-015: a red adult male,

            p.       USM-016: a blonde adult female,

            q.       USM-017: a red adult male,




                                                  -4-
       Case 3:22-cv-00177-DHB-BKE Document 1 Filed 12/05/22 Page 5 of 17




             r.       USM-018: a black adult female,

             s.       USM-019: a brindle adult female,

             t.       USM-020: a blonde adult female,

             u.       USM-021: a red female puppy,

             v.       USM-022: a red and white male puppy,

             w.       USM-023: a red female puppy,

             x.       USM-024: a red female puppy,

             y.       USM-025: a red female puppy,

             z.       USM-026: a black adult female, and

             aa.      USM-027: a black and white adult female.

        5.         The Defendant Dogs were seized by the U.S. Marshals Service and are being cared

for by a contractor who is providing the dogs with access to veterinary and rehabilitation services.

        6.         The Defendant Dogs are subject to forfeiture to the United States pursuant to 7

U.S.C. § 2156(e), as animals involved in a violation of the federal animal fighting venture

prohibition codified at 7 U.S.C. § 2156.

        7.         Because this Complaint is being filed for the purpose of establishing grounds for

forfeiture and providing notice to interested persons, it does not include all of the information

known by the Government in connection with the investigation underlying the claims for forfeiture

set forth herein.

                                    JURISDICTION AND VENUE

        8.         Plaintiff, the United States of America, brings this in rem action in its own right

and pursuant to its authority to forfeit the Defendant Dogs. Pursuant to 28 U.S.C. § 1345, this




                                                  -5-
      Case 3:22-cv-00177-DHB-BKE Document 1 Filed 12/05/22 Page 6 of 17




Court has jurisdiction over an action commenced by the United States. Additionally, pursuant to

28 U.S.C. § 1355(a), this Court has jurisdiction over any action or proceeding for forfeiture.

       9.      Venue is proper in this district pursuant to 28 U.S.C. §§ 1355(b) and 1395 because

the acts and omissions giving rise to forfeiture occurred in this district and because the Defendant

Dogs were found in this district.

                                    BASIS FOR FORFEITURE

       10.     The federal Animal Welfare Act, 7 U.S.C. § 2131, et seq., defines “animal fighting

venture” as “any event, in or affecting interstate or foreign commerce, that involves a fight

conducted or to be conducted between at least 2 animals for purposes of sport, wagering, or

entertainment.” 7 U.S.C. § 2156(f)(1). It is illegal to sponsor or exhibit an animal in an animal

fighting venture. 7 U.S.C. § 2156(a)(1). It is also illegal to sell, buy, possess, train, transport,

deliver, or receive an animal intended for use in an animal fighting venture. 7 U.S.C. § 2156(b).

       11.     The Animal Welfare Act provides that “[a] warrant to search for and seize any

animal which there is probable cause to believe was involved in any violation of this section may

be issued by any judge of the United States or of a State court of record or by a United States

magistrate judge within the district wherein the animal sought is located.” 7 U.S.C. § 2156(e).

Animals “seized under such a warrant shall be held by the United States Marshal or other

authorized person pending disposition thereof by the court in accordance with this subsection.”

Id. In addition, “[n]ecessary care including veterinary treatment shall be provided while the

animals are so held in custody.” Id.

       12.     The statute also contemplates forfeiture of the seized animals. Specifically,




                                               -6-
       Case 3:22-cv-00177-DHB-BKE Document 1 Filed 12/05/22 Page 7 of 17




        [a]ny animal involved in any violation of this section shall be liable to be proceeded against
        and forfeited to the United States at any time on complaint filed in any United States district
        court or other court of the United States for any jurisdiction in which the animal is found
        and upon a judgment of forfeiture shall be disposed of by sale for lawful purposes or by
        other humane means, as the court may direct.


Id. The costs incurred in caring for animals seized and forfeited under this section “shall be

recoverable from the owner of the animals (1) if he appears in such forfeiture proceeding, or (2)

in a separate civil action brought in the jurisdiction in which the owner is found, or transacts

business.” Id.

        13.      As explained below, the Defendant Dogs are animals “involved in violation[s]” of

7 U.S.C. § 2156, and are therefore subject to forfeiture pursuant to 7 U.S.C. § 2156.

                                          BACKGROUND

        14.      Dog fighting is a violent contest in which two dogs that are bred and conditioned

for fighting are released by their owners or handlers in a controlled environment to attack each

other and fight for purposes of entertainment or gambling. Fights usually end when one dog

withdraws, when a handler “picks up” his dog and forfeits the match, or when one or both dogs

die.

        15.      Pit bull-type dogs are the most prevalent type of dogs used in dog fighting ventures.

This is due to their short coat, compact muscular build, and the aggressive temperament that some

exhibit toward other dogs.

        16.      Dog fighters select the strongest, most capable fighting dogs and selectively breed,

sell, and fight those dogs that display particular traits.

        17.      Some of these traits are: (1) “gameness” or aggressiveness and propensity to fight

other dogs; (2) a willingness to continue fighting another dog despite traumatic and/or mortal




                                                  -7-
      Case 3:22-cv-00177-DHB-BKE Document 1 Filed 12/05/22 Page 8 of 17




injury; and (3) cardiovascular endurance to continue fighting for long periods of time and through

fatigue and injury.

       18.     Dog fighters fight dogs with a goal of obtaining “Champion” or “Grand Champion”

status for their dogs, which is achieved by winning three or five fights, respectively.

       19.     Dog fighters can generate substantial income from gambling on dog fights and from

the sale and breeding of animals with a fighting lineage.

       20.     It is a common practice for those involved in training and exhibiting fighting dogs

to possess several dogs at one time. This practice is followed for several reasons. Dog fighters

maintain a stock of dogs at different weights and both sexes because in dog fights, dogs are

matched against other dogs to within a pound of the same weight against dogs of the same sex.

Maintaining a stock of several dogs thus increases the odds of owning a dog whose weight meets

the requirements for a match being solicited by an opponent.

       21.     Further, dog fighters must possess an inventory of dogs because dogs often die or

are badly injured during fights. Dogs that lose fights or fail to show “gameness” are often killed.

It is not uncommon for dogs that lose matches to be killed in cruel, torturous, and inhumane ways

as punishment.

       22.     Dog fighters also maintain multiple dogs in order to selectively breed, sell, and fight

dogs displaying certain traits or to otherwise advance a particular dog fighting bloodline.

Possessing multiple dogs increases the prospects of owning a dog who will become a Champion

or Grand Champion. Dog fighters also routinely test and evaluate their dogs to determine those

that exhibit aggressive behavior, including against their own dogs.

       23.     Dog fighters typically do not start setting up matches for a dog until the dog reaches

at least eighteen months to two years of age. Until then, dog fighters may test the dog out by




                                                -8-
      Case 3:22-cv-00177-DHB-BKE Document 1 Filed 12/05/22 Page 9 of 17




“rolling” it or having the dog participate in short fights to assess the dog’s demeanor. Thus, it is

common for dog fighters to possess young dogs who are in the process of being trained to fight

and, thus, do not yet have much, if any, scarring.

       24.     One sign of dog fighting is the presence of pit bull-type dogs on heavy or excessive

chains, or housed individually in pens or crates. Persons engaged in dog fighting take steps to

restrain or isolate dogs used for fighting from one another to prevent them from fighting at

unintended times. They may also keep younger dogs they intend to use for fighting out of reach

of other dogs to discourage normal socialization. Heavy chains are used to develop neck strength

in dogs used for fighting.

       25.     Dogs who have been fought may have scars, puncture wounds, swollen faces, or

mangled ears. Scars from organized dog fights are commonly found on the face and front legs, as

well as on hind ends and thighs. The majority of the adult Defendant Dogs had scarring and or

wounds.

                                             FACTS

       26.     As part of an investigation into drug trafficking in Georgia, Drug Enforcement

Agency agents discovered that several individuals were also involved in illegal dog fighting.

       27.     On May 3, 2022, on the Government’s application, Magistrate Judge Brian Epps

issued federal search warrants for 138 Tucker School Road, Wrightsville, Georgia, and 236 James

Grove Church Road, Wrightsville, Georgia. Among other things, the warrants authorized the

Government to search for and seize animals based on probable cause that the animal was involved

in a violation of 7 U.S.C. § 2156.

       28.     On or about May 5, 2022, the warrants were executed by DEA and the U.S.

Department of Agriculture, with the assistance of other law enforcement officers. During the




                                               -9-
      Case 3:22-cv-00177-DHB-BKE Document 1 Filed 12/05/22 Page 10 of 17




execution of the warrants, the agents observed that the Defendant Dogs were in a condition that

was not consistent with that of pet dogs.

        29.       Agents found the Tucker School Road dogs concealed in the wooded back part

of the property, not visible from the street.

        30.       The dogs seized from Tucker School Road and James Grove Church were housed

in a manner consistent with animals involved in a dog fighting operation. The Defendant Dogs

were housed outside in segregated structures and/or restricted with metal chains attached to ground

anchors or stakes. See photos below. The adult Defendant Dogs were housed so that they could

not reach each other. Many were wearing thick collars, which are used to prevent the dogs from

getting loose and attacking other dogs.




        31.       The following dogs are among those who exhibited scarring, wounds, sores, or

other injuries:

              a. Tucker School location: USM-002 (scarring on face and legs) (see photo below

                  left), USM-006 (scarring on face, legs and chest, torn ear), USM-008 (scarring on

                  face and legs), USM-009 (scarring on face), USM-10 (scarring on head), USM-11

                  (scarring on face, legs and neck) (see photo below, top), USM-13 (scarring on face

                  and legs), USM-14 (scarring all over body), USM-016 (scarring on face), USM-



                                                - 10 -
Case 3:22-cv-00177-DHB-BKE Document 1 Filed 12/05/22 Page 11 of 17




      017 (scarring all over body), USM-018 (scarring on face), USM-019 (scarring on

      face and legs), USM-020 (scarring on face, chest and legs), USM-021 (scarring on

      foot), USM-022 (scarring on face and legs) (see photo below, bottom), USM-023

      (scarring on face and legs), USM-025 (scarring on face and legs), USM-026

      (scarring on face), USM-027 (scarring on face and legs), USM-028 (scarring on

      face and legs), USM-030 (scarring on legs), USM-031 (scarring on face and leg),

      USM-032 (scarring on shoulder, torn ear).




                                    - 11 -
     Case 3:22-cv-00177-DHB-BKE Document 1 Filed 12/05/22 Page 12 of 17




            b. James Grove Church: USM-007 (scarring on face, ears, legs); USM-008 (scarring

                on face and legs); USM-009 (scarring on legs and face); USM-010 (scarring on legs

                and large scar on face); USM-011 (scarring on face and legs, torn ears); USM-012

                (scarring on legs); USM-015 (scarring on face and legs); USM-017 (scarring on

                face and legs); USM-018 (scarring all over body, torn ears) (see photo below left);

                USM-019 (scarring on face and legs, torn ear) (see photo below right)

                USM-020 (scarring on face and legs); USM-026 (scarring on face and legs); USM-

                027 (scarring on face).




      33.       A few of the Defendant Dogs were underweight, thin, or emaciated. See, e.g.

photos below.




                                               - 12 -
     Case 3:22-cv-00177-DHB-BKE Document 1 Filed 12/05/22 Page 13 of 17




       34.    Several of the dogs had dental issues, including:

              a.      Tucker School Defendant Dogs: USM-001 (missing teeth), USM-006

                      (missing and worn teeth), USM-007 (missing teeth) (see left photo below),

                      USM-008 (worn teeth) (see right photo below), USM-009 (missing and

                      worn teeth) (see middle photo), USM-012 (missing and worn teeth), USM-

                      017 (missing and worn teeth), USM-018 (missing and worn teeth), USM-

                      019 (missing teeth), USM-021 (missing and worn teeth), USM-023

                      (missing teeth), and USM-028 (missing and worn teeth).




              b.      James Grove Church Defendant Dogs: USM-001 (missing teeth); USM-008

                      (worn upper teeth); USM-009 (worn teeth); USM-010 (missing teeth);

                      USM-011 (missing teeth); USM-015 (worn teeth); USM-018 (missing and

                      worn teeth); USM-019 (worn teeth); USM-026 (worn teeth); USM-027

                      (missing and worn teeth).

       35.    None of the Defendant Dogs appeared spayed or neutered, which is common among

dogs involved in a dog fighting operation.

       36.    Several carcasses of deceased animals, which appeared to be dogs, and bones were

found about 100 feet directly behind the James Grove Church Defendant Dogs.




                                             - 13 -
      Case 3:22-cv-00177-DHB-BKE Document 1 Filed 12/05/22 Page 14 of 17




       37.     Additionally, agents identified a number of items commonly associated with an

illegal dog fighting operation.

               a.      At the Tucker School location, agents observed and/or seized the following:

                    i. Treadmills, including one treadmill for humans that was outfitted with side

                       walls to keep a dog from hopping off. The treadmill had holes drilled in

                       the top handle and a sideboard. The drilled holes would be used to affix

                       a chain or rope to the collar of the dog and when the treadmill is turned

                       on the dog would be forced to walk or run at the set pace of the treadmill.

                       Agents also found dog treadmills, called “slat mills.”




                    ii. Veterinary medical supplies, such as Dexium solution for farm animals (an

                       anti-inflammatory agent) and Ivermectin (see photo below). 1 Dog fighters




1
 Dog fighters use medications and supplements intended for farm animals because prescriptions
are not required to obtain such products.



                                               - 14 -
        Case 3:22-cv-00177-DHB-BKE Document 1 Filed 12/05/22 Page 15 of 17




                         typically keep such medications because they hesitant to take their dogs

                         to a licensed veterinarian for fear of being reported.




                    iii. Pedigrees and registration papers – Pedigrees are used to show the

                         bloodline of dogs. This value of dogs increases if they are bred from

                         certain bloodlines of Champions or Grand Champions.

             b. At the James Grove Church location, agents seized the following:

                     i. A bottle of injectable penicillin 2 and a syringe;

                     ii. Two break sticks;

                    iii. A disassembled fighting pit (4 panels approximately 14 feet long and 30
                         inches high. The walls of the panels had red stains that appeared to be blood
                         stains.);

                    iv. Hanging scales found on a tree near the fighting pit; and

                     v. A banker’s box of medication found inside a trailer.



          WHEREFORE, the United States of America prays that process of a Warrant for Arrest

and Notice In Rem be issued for the arrest of the Defendants in rem; that due notice be given to all

parties to appear and show cause why the forfeiture should not be decreed; that judgment be



2
    There were pictures of farm animals on the bottle.


                                                 - 15 -
      Case 3:22-cv-00177-DHB-BKE Document 1 Filed 12/05/22 Page 16 of 17




entered declaring the Defendants in rem be forfeited to the United States of America for disposition

according to law; that the Court enter a judgment for costs associated with the care of the

Defendants in rem pursuant to 7 U.S.C. § 2156(e) should any interested party file a claim for the

Defendants in rem; and that the United States of America be granted such other relief as this Court

may deem just and proper.

       This 5th day of December, 2022.


                                                        Respectfully submitted,


                                                        DAVID H. ESTES
                                                        UNITED STATES ATTORNEY

                                                        s/Shannon H. Statkus
                                                        Shannon H. Statkus
                                                        Assistant United States Attorney
                                                        South Carolina Bar No. 70410
                                                        P.O. Box 2017
                                                        Augusta, GA 30903
                                                        (706) 724-0517
                                                        Shannon.statkus@usdoj.gov




                                               - 16 -
      Case 3:22-cv-00177-DHB-BKE Document 1 Filed 12/05/22 Page 17 of 17




               VERIFICATION OF COMPLAINT FOR FORFEITURE IN REM

       I, Special Agent Kelsey Tolomeo, with the United States Department of Agriculture, Office

of Inspector General, have read the foregoing Complaint for Forfeiture in Rem in this action and

state that its contents are true and correct to the best of my knowledge and belief.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

       This 5th day of December, 2022.

                                       KELSEY             Digitally signed by
                                                          KELSEY TOLOMEO

                                       TOLOMEO Date:            2022.12.05 13:01:20
                                      ____________________________________________
                                                          -05'00'
                                      KELSEY TOLOMEO
                                      SPECIAL AGENT
                                      UNITED STATES DEPT. OF AGRICULTURE,
                                      OFFICE OF INSPECTOR GENERAL




                                               - 17 -
